EXHIBIT
   A
Goldberg, Stuart

From:                          Corey Woodfolk <cwoodfolk@batesgarcia.com>
Sent:                          Monday, March 16, 2020 9:52 AM
To:                            Goldberg, Stuart
Cc:                            Ivan Bates; Tony; mglass@mglasslaw.com
Subject:                       Second Amended Complaint & Line/ Albert Brown
Attachments:                   Second Amended Complaint 3.16.20.pdf; Albert Brown Line 3.16.20.pdf


Please see attached, Second Amended Complaint and Line.

Corey L. Woodfolk
General Manager
Bates & Garcia, LLC.
201 N. Charles Street, Suite 1900
Baltimore, MD 21201
410-814-4600 - Telephone/410-814-4604 - Fax
cwoodfolk@batesgarcia.com




                                                          1
